Case 2:23-cv-00312-JS-LGD Document 25 Filed 01/12/24 Page 1 of 1 PageID #: 51




                     Robert E. Hewitt, Associate/ REH@schlawpc.com

                                    December 4, 2023

via E-FILE ONLY:
Magistrate Judge Lee G. Dunst
United States District Court
Eastern District of New York
100 Federal Plaza, Courtroom
830 Central Islip, New York 11722

              Re:    Tasty Brands, LLC v. Avanti Foods Corporation
                     2:23-cv-00312-JS-LGD

Your Honor:

       We represent Plaintiff, Tasty Brands LLC. We write in response to Your Honor’s Order
dated January 4, 2024 regarding whether the parties are ready to hold a productive
settlement conference on February 1, 2024. Unfortunately, we have just been informed that
the individual at Tasty Brands with settlement authority will be out of the country on that
date and therefore unavailable. We apologize to the Court for any inconvenience this may
have caused. We have consulted with counsel for Defendant and the parties still desire a
settlement conference by Zoom.

        We propose the following dates of February 20, 21, 22, 23, or any later date available
to the Court. In the interim, we continue to try to settle the case.

       We appreciate Your Honor’s Time and attention.


                                                  Very truly yours,

                                                  SCHWARTZ, CONROY & HACK, PC


                                           By:
                                                   Robert E. Hewitt
                                                  __________________________
                                                  Robert E. Hewitt, Esq.
